                       UNITED STATES DISTRICT COURT
 1
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2
     John Doe & Jane Doe, on behalf              Case No.
 3   of themselves and all others
 4   similarly situated,
                                                 ____________________
 5                         Plaintiffs,
 6
     v.
 7                                               Application for Admission of
     Meta Platforms, Inc.,                       Attorney Pro Hac Vice
 8                                               (Civil LR 11-3)
 9
                           Defendant.
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11
           I, Donald Patrick Yarborough, an active member in good standing of the bar of
12
     the State of Texas, hereby respectfully apply for admission to practice pro hac vice in
13
     the Northern District of California representing named Plaintiffs John Doe and Jane
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     Doe and the putative class in the above-styled class action litigation. I am admitted
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     to practice and in good standing in the Southern District of Texas. A true and correct
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     copy of a certificate of good standing issued to me by the Texas State Bar is attached
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     to this application. I have not been granted pro hac vice admission by this court in
18
     the 12 months preceding this application.
19
           My local co-counsel in this case is Steven Vondran, an attorney who is a
20
     member of the bar of this Court in good standing and who maintains an office within
21
     the State of California. Mr. Vondran’s California bar number is 232337.
22
           Mine and Mr. Vondran’s contact information of record is as follows.
23
24                     Donald Patrick Yarborough      Steven Vondran
      Address          917 Franklin Street, Suite 220 One Sansome Street, Suite 3500
25                     Houston, TX 77002              San Francisco, CA 94194
26
      Telephone No.    (713) 331-5254               (877) 276-5084
27    Email            patrick@fosteryarborough.com steve@vondranlegal.com

28                                         Page 1 of 2
 1         By signing below, I agree to familiarize myself with, and abide by, the Local
 2   Rules of this Court, especially the Standards of Professional Conduct for attorneys
 3   and the Alternative Dispute Resolution Local Rules. I declare under penalty of
 4   perjury that the forgoing is true and correct.
 5
 6   Dated: December 1, 2022                   Respectfully submitted,

 7
 8                                             /s/ Donald Patrick Yarborough
 9
                                               Donald Patrick Yarborough
10                                             Texas Bar No. 24084129
                                               917 Franklin Street, Suite 220
11                                             Houston, TX 77006
                                               o. (713) 331-5254
12
                                               patrick@fosteryarborough.com
13                                             FOSTER YARBOROUGH PLLC

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28                                         Page 2 of 2
                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

November 30, 2022



Re: Mr. Donald Patrick Arthur Yarborough, State Bar Number 24084129


To Whom It May Concern:

This is to certify that Mr. Donald Patrick Arthur Yarborough was licensed to practice law in Texas
on November 02, 2012, and is an active member in good standing with the State Bar of Texas. "Good
standing" means that the attorney is current on payment of Bar dues; has met Minimum Continuing
Legal Education requirements; and is not presently under either administrative or disciplinary
suspension from the practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
